
658 S.E.2d 273 (2008)
Alene LEGETTE, Employee, Plaintiff
v.
SCOTLAND MEMORIAL HOSPITAL, Employer.
South Carolina Property and Casualty Guaranty Association, Carrier, Defendants.
No. 159P07.
Supreme Court of North Carolina.
January 24, 2008.
Jeffrey T. Linder, Michael W. Ballance, Raleigh, Angela N. Farag, for Hospital.
Gina E. Cammarano, N. Victor Farah, Raleigh, for Legette.
Prior report: 181 N.C.App. 437, 640 S.E.2d 744.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendants on the 30th day of March 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Plaintiff, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 24th day of January 2008."
Upon consideration of the petition filed on the 30th day of March 2007 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of January 2008."
HUDSON, J., recused.
